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                                                        HON. JOHN C. COUGHENOUR




                      UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,               )
                                        )        No.    CR06-27JCC
                    Plaintiff,          )
                                        )        ORDER CONTINUING TRIAL
        v.                              )        DATE
                                        )
KHAU THANH LE,                          )
QUANG LY,                               )
                                        )
                    Defendants.         )

        Defendant KHAU THANH LE and Defendant QUANG LY through

their        respective   counsel       move      to     continue     trial.       The

defendants submit the defense need for a continuance outweighs

the public’s interest in a speedy trial.

        The discovery in this case is extensive and the charges

are complex. The defense contends more time is needed for

defense       investigation.      The   defense        also   indicates    a   trial

continuance       will    allow    them     an    opportunity       to    negotiate

towards an agreed disposition of charges and a plea agreement.

        The defendants request that trial be continued until May

3, 2006. The defendants agree to file speedy trial waivers
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excluding time from the running of the Speedy Trial clock from

the granting of a continuance until the new trial date. The

government does not object.

        In view of the parties' agreement to continue the trial

date and each defendant's knowing, voluntary, and intelligent

waiver or anticipated waiver of his right to a speedy trial,

this Court finds that the ends of justice served by granting a

continuance    outweigh        the   best    interest      of    the    public      and

defendants in a speedy trial.

        The parties’ motion for continuance is GRANTED. Trial is

reset for May 3, 2006, at 9:30 a.m. The time from March 20,

2006,    through   May    3,    2006,      shall   be    excludable         under   the

Speedy    Trial    Act,   Title      18,    United      States      Code,    Sections

3161(h)(8)(A), 3161(h)(B)(i), and 3161(h)(B)(ii).

        All pretrial motions shall be filed on or before March

31, 2006.

        Dated this 3rd day of March 2006.




                                                   A    HON. JOHN C. COUGHENOUR
